Case 22-12668-mdc        Doc 132-5     Filed 02/06/23 Entered 02/06/23 09:48:41             Desc
                                      COS Page 1 of 2




                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

IN RE:     Tarani Johnson                                Case No. 22-12668-mdc
                       Debtor
                                                         Chapter: 7
           SN Servicing Corporation as Servicer for
           U.S. Bank Trust National Association, as      Judge: Magdeline D. Coleman
           Trustee of Cabana Series V Trust
                        Movant                           Hearing Date:
           v.
                                                         Objection Deadline:            1
           Tarani Johnson
           Patricia Johnson - Co-Debtor
           Terry P. Dershaw- Trustee
                          Respondents

                                CERTIFICATE OF SERVICE

         I, Lauren M. Moyer, Esquire., certify that on                         , I caused to be

 served a true copy of the annexed NOTICE OF MOTION, MOTION FOR RELIEF

 FROM      THE      AUTOMATIC          STAY,    CO-DEBTOR          STAY     AND      FOR     IN

 REM/PROSPECTIVE RELIEF, AND SUPPORTING DOCUMENTS, by mailing by First

 Class Mail in a sealed envelope, with postage prepaid thereon, in a post office or official

 depository of the U.S. Postal Service addressed to the last known address of the addressee, and

 the property address as indicated on the attached Service List annexed hereto.

Dated:
                                             By: _/s/Lauren M. Moyer
                                             Lauren M. Moyer, Esquire
                                             FRIEDMAN VARTOLO LLP
                                             Attorneys for Movant
                                             1325 Franklin Avenue, Suite 160
                                             Garden City, New York 11530
                                             T: (212) 471-5100
                                             Bankruptcy@FriedmanVartolo.com
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                                        SERVICE LIST



     Trustee
     TERRY P. DERSHAW
     Dershaw Law Offices
     P.O. Box 556
     Warminster, PA 18974-0632

     U.S. Trustee
     United States Trustee
     Office of United States Trustee
     Robert N.C. Nix Federal Building
     900 Market Street
     Suite 320
     Philadelphia, PA 19107

     Pro Se Debtor
     Tarani Johnson
     2285 Bryn Mawr Ave.
     Philadelphia, PA 19131

     Co-Debtor
     Patricia Johnson
     24-02 Oceancrest Boulevard
     Far Rockaway, NY 11691
